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 1
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 6   Attorneys for PNC Bank, National Association
 7
                              UNITED STATES BANKRUPTCY COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9
                                     LOS ANGELES DIVISION
10
11   In re                                          ) Case No. 2:23-bk-12707-VZ
12                                                  )
                                                    ) Chapter 13
13   Fred Tucker,                                   )
                                                    ) OBJECTION TO CONFIRMATION OF
14
                    Debtor.                         ) CHAPTER 13 PLAN
15                                                  )
                                                    )
16                                                  ) Confirmation Hearing:
17                                                  ) Date: 7/22/2024
                                                    ) Time: 10:00 AM
18                                                  ) Ctrm: 13th Floor, 1368
                                                    ) Place: 255 E. Temple Street,
19
                                                    )        Los Angeles CA
20                                                  )
                                                    ) Judge: Vincent P. Zurzolo
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22                                                  )
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24                                                  )
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                                              1                                   File No. CA-23-173700
                                                            Objection to Plan, Case No. 2:23-bk-12707-VZ
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 1          PNC Bank, National Association, (“Secured Creditor”) in the above-entitled Bankruptcy
 2   proceeding, hereby submits the following Objections to Confirmation of the Chapter 13 Plan
 3   proposed by (“Debtor”) Fred Tucker.
 4          1.      Secured Creditor is entitled to receive payments pursuant to a Promissory Note
 5   which matured on 2/1/2018 and is secured by a Deed of Trust on the subject property commonly
 6   known as 1232 Via Landeta, Palos Verdes Estate, CA 90274. As of 5/3/2023, the approximate
 7   amount in default was $418,738.62. A Proof of Claim detailing the arrearages is forthcoming
 8   and will be filed on or before the claims bar date. However, Secured Creditor submits the
 9   following objections to timely preserve its rights and treatment under the proposed Plan.
10          2.       Pursuant to the underlying security instruments, the loan matured 2/1/2018 with
11   the full amount becoming due and payable.            Under 11 U.S.C. §1322(b)(2), b(5) and
12   1325(a)(5)(B), the proposed plan must provide for Secured Creditor’s total claim be paid in full
13   with interest during the bankruptcy under Class 3C. Instead, the proposed Plan only provides for
14   $271,169.56 with no interest. The loan matured over 5 years ago. The interest rate under the
15   security instrument is 7.5%. Secured Creditor’s claim is secured by the first lien on Debtor’s
16   principal residence and as such may not be modified pursuant to 11 U.S.C. 1322(b)(2).
17          3.      In order to cure the full debt of $418,738.62 at 0% interest over 60 months,
18   Secured Creditor must receive a minimum payment of $6,978.98 per month from the Debtor
19   through the Plan. According to Debtors Schedules I and J, it does not appear Debtor has
20   sufficient funds to pay the lien in full within 60 months. Therefore, the Plan is not feasible. A
21   true and correct copy of Debtors Schedules I and J is attached hereto as Exhibit “1.”
22          4.      Unless otherwise ordered, under 11 U.S.C. § 1326(a)(1), the Debtor shall
23   commence making the payments proposed by the Plan within 30 days after the Petition is filed.
24   The Plan must comply with all applicable provisions of 11 U.S.C. § 1325 to be confirmed. As
25   such, the Plan cannot be confirmed.
26          5.      Secured Creditor further advises that the Debtor is responsible for paying the
27   property taxes and homeowner’s insurance.
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 1                                           CONCLUSION
 2          Any Chapter 13 Plan proposed by the Debtor must provide for and eliminate the
 3   Objections specified above in order to be reasonable and to comply with applicable provisions of
 4   the Bankruptcy Code. Secured Creditor respectfully requests that confirmation of the Chapter 13
 5   Plan as proposed by the Debtor be denied, or in the alternative, be amended to provide for full
 6   payoff of the arrearages owed to Secured Creditor.
 7          WHEREFORE, Secured Creditor prays as follows:
 8          1.     That confirmation of the Proposed Chapter 13 Plan be denied, or in the
 9   alternative, be amended to provide for full payoff of the loan owed to Secured Creditor within 60
10   months and to pay property taxes and homeowner’s insurance;
11          2.     For attorneys’ fees and costs herein; and
12          3.     For such other relief as this Court deems proper.
13
                                                Respectfully submitted,
14
15                                              McCarthy & Holthus, LLP

16          6/7/2023
                                               By: /s/ JaVonne M. Phillips
17
                                                   JaVonne M. Phillips, Esq.
18                                                 Attorney for Secured Creditor
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                                                 3                                     File No. CA-23-173700
                                                                 Objection to Plan, Case No. 2:23-bk-12707-VZ
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                             2763 Camino Del Rio S., Suite 100
                                                   San Diego, CA 92108

A true and correct copy of the foregoing document entitled (specify): OBJECTION TO CONFIRMATION OF CHAPTER
13 PLAN; EXHIBITS will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
6/7/2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

  TRUSTEE                                                                                                  US TRUSTEE
  Nancy K Curry (TR)                                                                                       ustpregion16.la.ecf@usdoj.gov
  ecfnc@trustee13.com




                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 6/7/2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

DEBTOR(S)
Fred Tucker, 955 Deep Valley Dr, No: 2218, Rolling Hills, CA 90274


JUDGE’S COPY
The Honorable Judge, Vincent P. Zurzolo, United States Bankruptcy Court - Los Angeles Division, 255 E. Temple Street,
Suite 1360, Los Angeles, Ca, 90012

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 6/7/2023                       Hue Banh                                                        /s/ Hue Banh
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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ADDITIONAL SERVICE INFORMATION
BORROWER(S)
Zula Tucker, 1232 Via Landeta, Palos Verdes Estate, CA 90274




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
